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SD 1-13 AO 83 (Rev. 06/09) Summons in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Dakota

                    United States of America                        )
                                    v.                              )
                                                                    )
                         Wallace Tang                               )      Case No. 4:18-CR-40100-01
                                                                    )
                                                                    )
                             Defendant                              )

                                                   SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

   Indictment                  Superseding Indictment          Information      Superseding Information           Complaint
   Probation Violation Petition              Supervised Release Violation Petition    Violation Notice          Order of Court

         U.S. Courthouse
Place:                                                               Courtroom No.: Courtroom 2
         400 S. Phillips Avenue
         Sioux Falls, SD
                                                                    Date and Time: Thursday, September 6, 2018, 1:30 PM

          This offense is briefly described as follows:
           18 U.S.C. §1343 WIRE FRAUD



                                                  IMPORTANT NOTICE
IT IS ORDERED that the Defendant be And appear at the United States Probation Office on September 6, 2018, at 9:00 am
to facilitate preparation of Defendant’s bail bond report.
                                                                                     SUMMONS ISSUED:
            07/31/18
Date:                                                                                  11:11 am, Jul 31, 2018
                                                                                     MATTHEW W. THELEN, Clerk
                                                                                     By: _______________________
                                                                                                     Deputy Clerk


I declare under penalty of perjury that I have:

   Executed and returned this summons                              Returned this summons unexecuted

Date:
                                                                                        Server’s signature


                                                                                       Printed name and title
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  Case No.
                                This second page contains personal identifiers and therefore should
                                     not be filed in court with the summons unless under seal.
                                                      (Not for Public Disclosure)

                                                         INFORMATION FOR SERVICE
Name of defendant/offender:

Last known residence:


Usual place of abode (if different from residence address):


If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:


If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:



                                                            PROOF OF SERVICE
This summons was received by me on (date)                                             .

             I personally served the summons on this defendant                                                                at
          (place)                                                        on (date)                                 ; or

             On (date)                                I left the summons at the individual’s residence or usual place of abode
          with (name)                                                 , a person of suitable age and discretion who resides
          there, and I mailed a copy to the individual’s last known address; or

             I delivered a copy of the summons to (name of individual)                                                        ,
          who is authorized to receive service of process on behalf of (name of organization)
                                                                       on (date)                           and I mailed a copy to
          the organizations’s last known address within the district or to its principal place of business elsewhere in the
          United States; or

             The summons was returned unexecuted because:
                                                                                                                              .

I declare under penalty of perjury that this information is true.

Date returned:
                                                                                           Server’s signature


                                                                                          Printed name and title
Remarks:
